&lt;HTML&gt;
&lt;HEAD&gt;
&lt;META NAME="Generator" CONTENT="WordPerfect 9"&gt;
&lt;TITLE&gt;&lt;/TITLE&gt;
&lt;/HEAD&gt;
&lt;BODY TEXT="#000000" LINK="#0000ff" VLINK="#551a8b" ALINK="#ff0000" BGCOLOR="#c0c0c0"&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;/CENTER&gt;
&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/P&gt;
&lt;STRONG&gt;&lt;CENTER&gt;NO. 03-9&lt;A NAME="1"&gt;9&lt;/A&gt;-00&lt;A NAME="2"&gt;469&lt;/A&gt;-CV&lt;/CENTER&gt;
&lt;/STRONG&gt;

&lt;P&gt;&lt;HR ALIGN="CENTER" WIDTH="26%"&gt;
&lt;/P&gt;


&lt;STRONG&gt;&lt;/STRONG&gt;&lt;CENTER&gt;&lt;A NAME="3"&gt;Hubert Earl Teague, Jr.&lt;/A&gt;, Appellant&lt;/CENTER&gt;


&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P ALIGN="CENTER"&gt;&lt;STRONG&gt;&lt;A NAME="4"&gt;Holiday Inn Express; and Mark Pavlicek, General Manager of&lt;/STRONG&gt;&lt;/P&gt;

&lt;P ALIGN="CENTER"&gt;&lt;STRONG&gt;Holiday Inn Express&lt;/A&gt;, Appellees&lt;/STRONG&gt;&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;
&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="5"&gt;TRAVIS&lt;/A&gt; COUNTY, &lt;A NAME="6"&gt;98TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="7"&gt;99-00216&lt;/A&gt;, HONORABLE &lt;A NAME="8"&gt;PAUL R. DAVIS, JR.&lt;/A&gt;, JUDGE PRESIDING &lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

&lt;P&gt;&lt;STRONG&gt;&lt;HR SIZE="3"&gt;
&lt;/STRONG&gt;&lt;/P&gt;



	Because there is no final judgment from the trial court in this matter we will
dismiss the appeal for want of jurisdiction.  &lt;EM&gt;See&lt;/EM&gt; Tex. R. App. P. 42.3(a).

&lt;P&gt;	Appellant submitted his Notice of Appeal to the trial court on August 9, 1999.  By
letter dated December 20, 1999, this Court notified all parties that it did not appear that a final
judgment existed in this matter, and that appellant was requested to obtain a final judgment from
the trial court and submit same to this office by January 10, 2000.  Thus far appellant has failed
to respond.&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;	Accordingly, we dismiss this appeal for want of jurisdiction on our own motion.&lt;/P&gt;

&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;BR WP="BR1"&gt;&lt;BR WP="BR2"&gt;
&lt;P&gt;					&lt;SPAN STYLE="text-decoration: underline"&gt;                                                                       
&lt;/SPAN&gt;&lt;/P&gt;

&lt;P&gt;					Mack Kidd, Justice&lt;/P&gt;

&lt;P&gt;Before Chief Justices Aboussie, Justices Kidd and B. A. Smith&lt;/P&gt;

&lt;P&gt;Dismissed for Want of Jurisdiction&lt;/P&gt;

&lt;P&gt;Filed:   February 3, 2000&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

&lt;/BODY&gt;
&lt;/HTML&gt;
